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                                UNITED STATES DISTRICT COURT

                               NORTHERN DISTRICT OF CALIFORNIA


  USA,                                              Case No. 17-cr-00609-VC-1
                  Plaintiff,
                                                    ORDER RE COMPETENCY STATUS
           v.                                       OF DEFENDANT
  JOSE INEZ GARCIA-ZARATE,
                  Defendant.



       This order summarizes the status of efforts to ensure that the defendant is competent to

stand trial or enter a change of plea.

       Previously, the Court found that the defendant was not mentally competent to stand trial

or enter a change of plea, and ordered him committed to the custody of the Bureau of Prisons for

treatment. Ultimately, B.O.P. certified that the defendant, having received proper medication and

treatment for his psychiatric condition, was restored to competency. However, when the Court
attempted to re-arraign the defendant after his return, he made various statements that raised

questions about whether he lost competency at some point during or after his transfer from

B.O.P. custody to the Santa Rita Jail. The Court thus appointed Dr. Paul Elizondo—who had

previously evaluated the defendant—to conduct another evaluation.

       Since that time, the Court learned that the defendant was not receiving his medication at

the Santa Rita Jail. He may also have not been receiving medication while in transit. Dr.

Elizondo has assessed the defendant and confirmed that the defendant is no longer competent.

Dr. Elizondo estimates that proper treatment could restore the defendant to competency within 2-
3 months. Rather than holding a full-blown competency hearing, which would likely result in
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another order committing the defendant to B.O.P. custody for competency to be restored, the

Court requested that the U.S. Marshal seek to transfer the defendant to a local facility that is

more likely to ensure that the defendant receives his medication. In response, the Marshal has

transferred the defendant to the Marin County Jail. The Marshal has confirmed that the defendant

is receiving his medication there, and has assured the Court that his office will contact the jail

once a week to make sure that the defendant continues to receive his medication.

       A Zoom status conference is scheduled for February 15, 2022 at 10:00 a.m. to discuss

next steps. If defense counsel or the government objects to any aspect of the process described in

this order, they may file their objections in writing and request an earlier status conference to

discuss the objection.

       IT IS SO ORDERED.

Dated: December 10, 2021
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge




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